                  Case: 1:21-cv-04523 Document #: 8 Filed: 09/16/21 Page 1 of 2 PageID #:24


AO 440 (Rev. 05/00) Summons in a Civil Action                                                   ..


                                                                                                     D   SE
DAVID J. HOFFENKAMP, individually, and
on behalf of all others similarly situated,
                                                             CASE NUMBER:         1 :21-cv-04523
                                 V.                          ASSIGNED JUDGE:
                                                                                  Hon. Martha M. Pacold
 KOPLAN WELSH AND ASSOCIATES                                 DESIGNATED                          :
                                                             MAGISTRATE JUDGE:    Hon. Jeffrey T. Gilbert

                            •
                    TO:    (�ame and address ofDefcndan.t)

                  KOPLAN WELSH AND ASSOCIATES                                             :
                  c/o REGISTER:ED AGENT
                  DELAWARE BUSINESS INCORPORATORS, INC.
                  3422 OLD CAPITOL TRL STE 700
                  WILMINGTON, DE 19808
          YOU A� HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (na_meanct address)

                  Victor T. Metroff
                  Sulaiman Law Group, Ltd.
                  2500 South Highland Ave., Suite 200
                  Lombard, Illinois 60148


                                                                        ·     21       :
an answer to the comilaint which is herewith served upon you,                               days after service of this
summons upon you, exclusive of the day of:service. If you fail to do so,judgment by defau}t will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this:Com1 within a reasonable
period of time after service.                                                             :




      THOMAS G. BRUTON, CLERK                                                                                               .
                                                                                     August 25{ 2021

       (By) DEPUTY CLERK
                   :

                                                                                           ..
                  Case: 1:21-cv-04523 Document #: 8 Filed: 09/16/21 Page 2 of 2 PageID #:25

i\O 4-H) (Rev. 12/09) S111nm011� in a Civil Action (Page 2)

 Civil Action No.         1 :21-cv-04523                                          DAVID J. HOFFENKAMP. individually, and on        V.

                                                                                  KOPLAN WELSH AND.ASSOCIATES
                                                       PROOF OF SERVICE
                      (This section should not be.filed 1vit!, tile court unless required by Fed. R. Ch>. P. 4 {/))

            This summons for (name <1fiudivid11al and 1i1/e, ifrmy)             KOPLAN WELSH AND ASSOCIATES
 was received by me on (date)                         Sep 3, 2021


         D      I personally served the summons on the individual at (pta,·e;

           -------.,----------------- On /date)                                           ________ ; or
         D      I left the summons at the individual's residence or usual place of abode with (nwn�J

          --------------------- . a person of suitable age and d'iscrction who resides there,
           0n   (date) _. ________ , and mailed a copy to the individual's last known address; or
         IE]   I served the summons on (nmne (lindividual) PATRICIA GRAHAM, Office Manager                              . who is
            desiimated bv law to accept service or process on behalf of (name 0{01�r;;w1i::aiion)

           ------------       --,------------- on (date) --------
               KOPLAN WELSH AND ASSOCIATES                 Sep 9, 2021 ; or

         □      I returned ihe summuns unexecutcd because

         □
                       Date:
                Other (spcc/1,i):




         My fees are$         0       for travel and $                     for services, for a lota I of;$




 Date:

                                                                           Charles Murphy, Process Server
                                                                                    f'rinted name and title



                                                                        123 South 22nd Street Philadelphia,"PA 19103
                                                                           Ser\'t'I' 1· address
 Additional information regarding attempted service, etc: Documents (SUMMONS IN A CIVIL CASE, CLASS ACTION
COMPLAINT) were served/attempted at: c/o REGISTERED AGENT, DELAWARE BUSINES$ INCORPORATORS, INC., 3422
OLD CAPITOL TRL s-,E 700, Wilmington, DE 19808
Notes:
